        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 1 of 16




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 7

 8                         IN THE UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
10

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12 ELMER N. RODRIGUEZ, an individual and         CASE NO: 3:21-cv-07874-LB
   on behalf of all others similarly situated,
13                                               [Assigned to the Hon. Laurel Beeler in Courtrm
                                                 B – 15th Floor]
14                Plaintiffs,
           v.                                    PLAINTIFF’S OPPOSITION TO
15                                               DEFENDANT’S MOTION TO DISMISS
   GONSALVES & SANTUCCI, INC., a                 PLAINTIFF’S SECOND AMENDED
16 California Corporation; and DOES 1 through    COMPLAINT PURSUANT TO FED. R. CIV.
   100, inclusive,                               P. 12(b)(6)
17
                   Defendants.
18
                                                 HEARING INFORMATION
19                                               DATE:     August 18, 2022
                                                 TIME:     9:30 a.m.
20                                               COURTRM: Courtroom B – 15th Floor
21
                                                 State Action Filed: August 24, 2021
22                                               Removal Date:       October 7, 2021
                                                 (Contra Costa County Superior Court, Case No.:
23                                               C21-01735)
24

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     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED
                          COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
           Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 2 of 16




 1                                                     TABLE OF CONTENTS

 2 I.       INTRODUCTION ................................................................................................................. 5

 3 II. LEGAL STANDARDS.......................................................................................................... 6

 4
         A.       Fed. R. Civ. P. 12(B)(6) .................................................................................................. 6
 5
         B.       LMRA § 301 Preemption ................................................................................................ 7
 6

 7 III. ARGUMENT ........................................................................................................................ 8

 8       A.       Factual Allegations Added to the SAC Are Presumed to Be True.................................... 8
 9       B.       The Order Dismissing the FAC Does Not Compel Dismissal of the SAC ...................... 11
10
         C.       Claim for Failure to Timely Pay Wages Upon Separation Is Not Preempted.................. 12
11
         D.       Submission of Claims to a CBA Grievance Procedure Is Not Required ......................... 14
12

13 IV. CONCLUSION ................................................................................................................... 16

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                                         2
                          OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
            Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 3 of 16




 1                                                    TABLE OF AUTHORITIES

 2 Statutes

 3 Cal. Code Regs. Tit. 8 § 11080(2)(G) ............................................................................................ 9

 4 Cal. Lab. Code § 201.9 ............................................................................................................... 12

 5 Cal. Lab. Code § 204(a) .............................................................................................................. 12

 6 Cal. Lab. Code § 219(a) .............................................................................................................. 12

 7 Cal. Lab. Code § 201.5(a)(1) ....................................................................................................... 12

 8

 9

10 Rules

11 Fed. R. Civ. P. 12(b)(6) ................................................................................................................. 6

12 Fed. R. Civ. P. 15(a) ..................................................................................................................... 6
   Fed. R. Civ. P. 8(a) ....................................................................................................................... 6
13

14 Fed. R. Civ. P. 8(e) ....................................................................................................................... 6

15

16 Cases

17 Alaska Airlines Inc. v. Schurke, 898 F.3d 904 (9th Cir. 2018).................................................. 7, 10

18 Alexander v. Republic Servs., Inc., 2017 WL 2189770 (E.D. Cal. May 18, 2017) .......................... 9
19 Allis-Chalmers Corp. v. Lueck, 471 U.S. 202 (1985) ..................................................................... 7

20 Armenta v. Osmose, Inc., 135 Cal.App.4th 314 (2005) .................................................................. 9

21 Balcorta v. Twentieth Century-Fox Film Corp., 208 F.3d 1102 (9th Cir. 2000) ....................... 7, 14

22 Burnside v. Kiewit Pac. Corp., 491 F.3d 1053 (9th Cir. 2007) ............................................... 5, 7, 8

23 Cervantes v. City of San Diego, 5 F.3d 1273 (9th Cir. 1993) ......................................................... 6

24 Cramer v. Consol. Freightways, Inc., 255 F.3d 683 (9th Cir. 2001)........................................... 7, 9

25 DeSoto v. Yellow Freight Sys., Inc., 957 F.2d. 655 (9th Cir. 1992) ................................................ 6

26 Enesco Corp. v. Price/Costco Inc., 146 F.3d 1083 (9th Cir. 1998)................................................. 6

27 Evers v. Indep. Media, Inc., 2010 WL 11601039 (C.D. Cal. Oct. 22, 2010) ................................. 14

28 Fennix v. Tenderloin Hous. Clinic, Inc., 2020 WL 6462394 (N.D. Cal. Nov. 3, 2020)................. 15
                                                                          3
                           OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
          Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 4 of 16




 1 Flowers v. Los Angeles Cty. Metropolitan Transp. Auth., 243 Cal.App.4th 66 (2015) ................... 9

 2 Foman v. Davis, 371 U.S. 178 (1962) ........................................................................................... 6

 3 Gillette v. Stater Bros. Markets, Inc., 2019 WL 8017735 (C.D. Cal. Sept. 23, 2019) ................... 13

 4 Gilligan v. Jamco Dev. Corp., 108 F.3d 246 (9th Cir. 1997).......................................................... 6

 5 Gordon v. City of Oakland 627 F.3d 1092 (9th Cir. 2010) ............................................................. 9

 6 Gunther v. N. Coast Cooperative, Inc., 2020 WL 3394547 (N.D. Cal. Jun. 19, 2020) .................. 10

 7 Hall v. Live Nation Worldwide, 146 F.Supp.3d 1187 (C.D. Cal. 2015) ........................................ 12

 8 Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246 (1994) ............................................................... 15

 9 Humble v. Boeing Co., 305 F.3d 1004 (9th Cir. 2002) ................................................................... 7

10 Impress Commc’ns v. UnumProvident Corp., 335 F. Supp. 2d 1053 (C.D. Cal. 2003) ................... 6

11 Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399 (1988)................................................ 7, 13

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14 Massey v. Banning Unif. Sch. Dist., 256 F. Supp. 2d 1090, (C.D. Cal. 2003) ................................. 6

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16 Melendez v. San Francisco Baseball Assocs. LLC 7 Cal.5th 1 (2019) ................................5, 13, 14

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19 Rescuecom Corp. v. Google Inc., 562 F3d 123 (2nd Cir. 2009) ........................................... 6, 8, 14

20 Schacter v. Citigroup, Inc. 47 Cal.4th 610 (2009).................................................................... 5, 13

21 Soremekun v. Thrifty Payless, Inc., 509 F.3d 978 (9th Cir. 2007) ................................................ 10

22 Thomas v. Bible, 983 F.2d 152 (9th Cir. 1993) (cert. denied 508 U.S. 951 (1993) ....................... 11

23 Troester v. Starbucks Corp., 5 Cal.5th 829 (2018)......................................................................... 9

24 U.S. v. Alexander, 106 F.3d 874 (9th Cir. 1997) .......................................................................... 11

25 Vasserman v. Henry Mayo Newhall Mem. Hosp., 65 F.Supp.3d 932 (C.D. Cal 2014) .................... 7

26 Wilson-Davis v. SSP Am., Inc., 434 F. Supp. 3d 806 (C.D. Cal. 2020) ..................................... 8, 14

27 Wright v. Univ. Mar. Serv. Corp., 525 U.S. 70 (1998) ................................................................. 15

28 Zavala v. Scott Bros. Dairy, Inc., 143 Cal.App.4th 585 (2006) .................................................... 16
                                                                   4
                        OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
           Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 5 of 16




 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.     INTRODUCTION

 3           At the pleading stage, the Court must accept as true the following facts alleged in Plaintiff’s

 4 Second Amended Class Action Complaint (“SAC”) (Dkt. 58):

 5           •   “[N]o actual dispute exists as to any [Collective Bargaining Agreement (“CBA”)] terms

 6               in connection with any of Plaintiff’s claims….”

 7           •   “[T]here is no disagreement between Plaintiff and Defendants about the meaning or

 8               application of any relevant CBA-covered terms of employment….”

 9           • “[T]here is no dispute between Plaintiff and Defendants regarding either the term ‘actual
10               hours worked’ and/or the term ‘show up expenses’ as those terms are used in the CBA.”

11 [SAC, ¶ 17.] The Court should reject Defendant’s attempt to pretend that Plaintiff has not alleged

12 these facts. Defendant’s claim that the SAC “adds NO facts at all” is simply wrong. [Motion to

13 Dismiss Plaintiff’s Second Amended Complaint (“Motion”) (Dkt. 59), at 2:9.] Rather, these facts

14 added to the SAC foreclose the possibility of dismissing this action at the pleading stage on the

15 ground that Section 301 of the Labor Management Relations Act (“LMRA”) preempts Plaintiff’s

16 claims, because such preemption cannot apply when claims do not “substantially depend” on an

17 interpretation of the terms of a CBA. Burnside v. Kiewit Pac. Corp., 491 F.3d 1053, 1071 (9th Cir.

18 2007). Here, as alleged in the SAC, “Plaintiff’s state law claims alleged in this action do not depend
19 on analysis of the CBA.” [SAC, ¶ 17.] This alone is sufficient reason to deny the Motion.

20           Further, even if the Court finds that the purported CBA preempts some of Plaintiff’s

21 remaining claims (which it does not), Plaintiff’s waiting-time penalty claims cannot be dismissed,

22 because there is no CBA-based exemption for an employer’s duty to timely pay all wages due at

23 separation, and no employer can bargain around this statutory duty. See, e.g., Melendez v. San

24 Francisco Baseball Assocs. LLC 7 Cal.5th 1, 10 (2019); Schacter v. Citigroup, Inc. 47 Cal.4th 610,

25 619-20 (2009).

26           In light of the factual allegations in the SAC, however—which must be accepted as true at

27 the pleading stage—it would be legal error to find, as a matter of law, that certain CBA terms are

28 subject to dispute such that they require interpretation. They are not. The Motion should be denied.
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                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
            Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 6 of 16




 1    II.     LEGAL STANDARDS

 2               A. Fed. R. Civ. P. 12(B)(6)

 3            To defeat a motion to dismiss in federal court, a plaintiff need only give “a short and plain

 4 statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). While the

 5 Federal Rules of Civil Procedure (“FRCP”) allow for dismissal of a cause of action for “failure to

 6 state a claim upon which relief can be granted,” they also require all pleadings to be “construed so

 7 as to do justice.” Fed. R. Civ. P. 12(b)(6), 8(e). With this in mind, the Ninth Circuit is particularly

 8 hostile to motions to dismiss under Rule 12(b)(6). See Gilligan v. Jamco Dev. Corp., 108 F.3d 246,

 9 249 (9th Cir. 1997) (“the Rule 8 standard contains a powerful presumption against rejecting

10 pleadings for failure to state a claim”).

11            On a motion to dismiss under Rule 12(b)(6), the court must “accept as true all of the factual

12 allegations set out in plaintiff's complaint, draw inferences from those allegations in the light most

13 favorable to plaintiff, and construe the complaint liberally.” Rescuecom Corp. v. Google Inc., 562

14 F3d 123, 127 (2nd Cir. 2009) (internal quotes omitted); Enesco Corp. v. Price/Costco Inc., 146 F.3d

15 1083, 1085 (9th Cir. 1998). Indeed, dismissal should be granted “only if it is clear that no relief

16 could be granted under any set of facts that could be provided consistent with the allegations.”

17 Enesco, 146 F.3d at 1085 (quoting Cervantes v. City of San Diego, 5 F.3d 1273, 1274 (9th Cir.

18 1993)); see also Massey v. Banning Unif. Sch. Dist., 256 F. Supp. 2d 1090, 1092 (C.D. Cal. 2003)
19 (“A complaint should not be dismissed unless it appears beyond doubt that the plaintiff can prove

20 no set of facts in support of his claim which would entitle him to relief.”).

21            If dismissal is ordered, a court must also decide whether to grant leave to amend. Impress

22 Commc’ns v. UnumProvident Corp., 335 F. Supp. 2d 1053, 1062 (C.D. Cal. 2003). A court should

23 “freely give” leave to amend when there is no undue delay, bad faith, dilatory motives on the part

24 of the movant, undue prejudice to the opposing party, or futility of amendment. Fed. R. Civ. P.

25 15(a); Foman v. Davis, 371 U.S. 178, 182 (1962). Generally, leave to amend is denied only when

26 the complaint’s purported deficiencies clearly cannot be cured by amendment. DeSoto v. Yellow

27 Freight Sys., Inc., 957 F.2d. 655, 658 (9th Cir. 1992).

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                     OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
         Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 7 of 16




 1              B. LMRA § 301 Preemption

 2          Congress enacted section 301 of the LMRA “to protect the role of grievance and arbitration

 3 and of federal law in resolving CBA disputes, not to alter or displace state law labor rights.” Alaska

 4 Airlines Inc. v. Schurke, 898 F.3d 904, 926 (9th Cir. 2018) (emphasis added) (“Schurke”). Thus,

 5 “the Supreme Court has repeatedly admonished that § 301 preemption is not designed to trump

 6 substantive and mandatory state law regulation of the employee-employer relationship.” Humble v.

 7 Boeing Co., 305 F.3d 1004, 1007 (9th Cir. 2002); see also Vasserman v. Henry Mayo Newhall Mem.

 8 Hosp., 65 F.Supp.3d 932, 951 (C.D. Cal 2014) (“Despite the broad preemptive effect of § 301, a

 9 claim that seeks to vindicate nonnegotiable state-law rights … independent of any right established

10 by contract is not within its scope.”). Stated differently, “section 301 does not grant the parties to a

11 collective-bargaining agreement the ability to contract for what is illegal under state law.” Allis-

12 Chalmers Corp. v. Lueck, 471 U.S. 202, 212 (1985) (“Lueck”).

13          The Ninth Circuit employs a two-step test to determine whether a given state-law claim is

14 preempted. First, the court must ask if the claim involves a right conferred upon an employee by

15 virtue of state law or solely through a CBA. Burnside, supra, 491 F.3d at 1058-59. If the right

16 exists independent of a CBA, the court must then inquire “whether the right is nevertheless

17 substantially dependent on analysis of a [CBA].” Id. at 1059. Thus, while § 301 preempts state-

18 law claims that directly implicate a CBA, it does not preempt claims that: (1) arise independently of
19 a CBA, and (2) do not substantially depend on the analysis or interpretation of a CBA. Id. at 1061.

20          There is no presumption in favor of preemption where a claim asserts the protection of state-

21 law labor regulations, and indeed “pre-emption should not be lightly inferred … since the

22 establishment of labor standards falls within the traditional police power of the State.” Lingle v.

23 Norge Div. of Magic Chef, Inc., 486 U.S. 399, 412 (1988). Accordingly, “‘interpretation’” of a

24 CBA “is construed narrowly” and means “something more than [to] ‘consider,’ ‘refer to,’ or

25 ‘apply.’” Schurke, supra, 898 F.3d at 921 (quoting Balcorta v. Twentieth Century-Fox Film Corp.,

26 208 F.3d 1102, 1108 (9th Cir. 2000)). In other words, “the need to interpret the CBA must inhere

27 in the nature of the plaintiff’s claim.” Cramer v. Consol. Freightways, Inc., 255 F.3d 683, 691 (9th

28 Cir. 2001). The party asserting preemption bears the burden to prove that interpretation of a CBA’s
                                                       7
                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
          Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 8 of 16




 1 terms is required. See Wilson-Davis v. SSP Am., Inc., 434 F. Supp. 3d 806, 813 (C.D. Cal. 2020)

 2 (“It is not enough for Defendants to provide a laundry list of provisions that they allege the Court

 3 must interpret to resolve Plaintiff's claims; Defendants must explain why interpretation, as opposed

 4 to mere reference to the CBA, is necessary.”).

 5 III.     ARGUMENT

 6              A. Factual Allegations Added to the SAC Are Presumed to Be True

 7          At the core of Defendant’s argument that the Court should dismiss the SAC is its erroneous

 8 contention that Plaintiff’s amendments to his pleading only added “legal conclusions” that “cannot

 9 form the basis for the pleading.” [Motion, 5:13.] On the contrary, the factual allegations added to

10 the SAC—which the Court must “accept as true” (Rescuecom, 562 F3d at 127)—make clear that

11 none of the claims maintained in this action “substantially depend” on analysis of CBA terms.

12 Burnside, 491 F.3d at 1071.

13          In material part, the SAC adds allegations to support the inference that “Plaintiff’s state law

14 claims alleged in this action do not depend on analysis of [any] CBA” in part because “no actual

15 dispute exists as to any CBA terms in connection with any of Plaintiff’s claims[.]” SAC, ¶ 17

16 (emphasis added).      The SAC further alleges that “there is no dispute between Plaintiff and

17 Defendants regarding either the term ‘actual hours worked’ and/or the term ‘show up expenses’ as

18 those terms are used in [any] CBA.” Id. Further, the SAC alleges that “Defendants have not pointed
19 to any practice in the industry or in its shop supporting that the term ‘actual hours worked’ [or the

20 term ‘show up expenses’] has some arcane meaning requiring substantial interpretation.” Id. at ¶

21 18. Plaintiff alleges that no interpretation of any purported CBA will be required to resolve his

22 claims, and therefore there is no basis for preemption. Id. at ¶¶ 16-19.

23          Plaintiff’s claims in the SAC continue to focus on the key allegation that he and putative

24 Class Members are entitled to unpaid minimum wages for time spent engaged in activities which

25 are compensable under state law, but for which Defendant paid no compensation. No legal

26 authority permits Defendant or any other private employer to contract around this duty to provide

27 wages for all time spent performing compensable labor. “Under both federal and California law,

28 employees may not agree to waive their entitlement to the minimum wage … nor may a [CBA]
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                   OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 9 of 16




 1 waive that right.” Flowers v. Los Angeles Cty. Metropolitan Transp. Auth., 243 Cal.App.4th 66, 82

 2 (2015) (citing Gordon v. City of Oakland 627 F.3d 1092, 1095 (9th Cir. 2010)); McGhee v. Tesoro

 3 Refining & Mtkg. Co. LLC, 440 F.Supp.3d 1062, 1068 (N.D. Cal. 2020); see also Armenta v.

 4 Osmose, Inc., 135 Cal.App.4th 314, 321-22 (2005) (discussing employer’s duty under state law to

 5 pay CBA-covered employees minimum wage for every hour actually worked).

 6          With good reason, Defendant does not dispute that Plaintiff’s minimum wage claim is not

 7 preempted at the first step of the Burnside preemption analysis. The Court has previously held that

 8 Plaintiff’s minimum wage claim, as it is currently formulated, is not preempted under the first step

 9 of the Burnside analysis as to whether the contested right exists independently of any CBA. It does.

10          The minimum wage claim is not preempted at the second stage of the Burnside analysis,

11 either—certainly not as a matter of law at the pleading stage, where the Court must accept as true

12 the allegations in the SAC. CBA interpretation is unnecessary because applicable state law provides

13 a comprehensive legal framework within which a factfinder may determine when and to what extent

14 the basic, non-waivable state law right to receive a minimum wage has been violated, most notably

15 defining that time for which an employer must pay minimum wage. See, e.g., Troester v. Starbucks

16 Corp., 5 Cal.5th 829, 840 (2018); Morillion v. Royal Packing Co., 22 Cal. 4th 575 (2000); accord

17 Cal. Code Regs. Tit. 8 § 11080(2)(G). Where a plaintiff’s claim consists of a cause of action for

18 unpaid minimum wages on the theory that he or she was not paid at all for time spent off-the-clock
19 performing tasks required by defendants which are otherwise compensable under state law, a court

20 need only “decide whether defendants paid plaintiff and putative class members minimum wages

21 for all hours they worked, an inquiry that does not implicate any CBA provisions.” Alexander v.

22 Republic Servs., Inc., 2017 WL 2189770, at *3 (E.D. Cal. May 18, 2017).

23          The Motion must be denied because resolution of Plaintiff’s independent, state-law claim

24 for unpaid minimum wages will not require “interpretation” of any purported CBA terms, such that

25 federal preemption is appropriate. Given the State’s strong interest in retaining its authority to

26 regulate the employment relationship (not to mention the employee’s interest in receiving a

27 minimum wage for all hours worked), “the need to interpret the CBA must inhere in the nature of

28 the plaintiff’s claim.” Cramer, supra, 255 F.3d at 691. Conversely, a “provision in a [CBA] will
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                   OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 10 of 16




 1 not trigger preemption when it is only potentially relevant to the resolution of state law claims.”

 2 Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 990-91 (9th Cir. 2007) (emphasis added).

 3 Moreover, “reliance on and reference to CBA-established or CBA-defined terms of employment do

 4 not make for a CBA dispute if there is no disagreement about the meaning or application of any

 5 relevant CBA-covered terms of employment.” Schurke, supra, 898 F.3d at 927 (emphasis added).

 6          Here, as alleged in the SAC, no actual dispute exists between the Parties as to any purported

 7 CBA term. As such, Plaintiff’s minimum wage claim cannot be deemed preempted at the pleading

 8 stage, based on non-existent disagreement as to CBA terms which Defendant alleges in a brazen,

 9 unsupported contradiction of the facts alleged in the SAC. Indeed, instead of point to any such

10 actual CBA-related dispute between the Parties (much less one that “inheres in the nature” of his

11 minimum wage claim), Defendant has only repeatedly pointed vaguely to two terms from the

12 purported CBA, asserting that a dispute is bound to arise as to these terms at some future point in

13 litigation. A virtually identical argument presented by another defendant in this District Court was

14 recently held insufficient to demonstrate preemption of a plaintiff’s off-the-clock claim. See

15 McGhee, supra, 440 F.Supp.3d at 1068-69 (“The Court finds that Defendants have failed to show

16 anything more than a hypothetical connection between the claim and the terms of the CBA.”); see

17 also, e.g., Gunther v. N. Coast Cooperative, Inc., 2020 WL 3394547, at *8 (N.D. Cal. Jun. 19, 2020).

18          Defendant cannot meet its burden through its self-serving and unsubstantiated assertion that
19 a dispute will arise at some point in the future. A CBA that merely acts as evidence of Defendant’s

20 practices and procedures does not require interpretation within the meaning of the Burnside analysis.

21 Rather, while the Court may “‘look’ at the relevant CBAs as evidence of [Defendant’s] procedures,”

22 this does not alter that “the focus remains on Defendant’s actions, not the CBA’s authorizations.”

23 McGhee, supra, 440 F.Supp.3d at 1069 (emphasis added).

24          Nor can Defendant’s Motion be granted on the basis that these terms which Defendant

25 believes might cause a dispute in the future are “industry terms” that require a determination of their

26 meaning. While “[d]etermining the meaning of industry terms is a form of interpretation,” (Marquez

27 v. Toll Global Forwarding, 804 Fed. App’x 679, 681 (9th Cir. 2020)), here the SAC alleges as fact

28 that: “The terms ‘actual hours worked’ and ‘show-up expenses’ as used in the CBA are not industry
                                                      10
                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 11 of 16




 1 terms.” SAC, ¶ 18. The SAC further alleges: “Defendants have not pointed to any practice in the

 2 industry or in its shop supporting that the term ‘actual hours worked’ has some arcane meaning

 3 requiring substantial interpretation. The CBA unambiguously defines the term ‘show up expense’

 4 in a manner that leaves no room for interpretation or augmentation by some nebulous, unspecified

 5 ‘industry’ meaning.” Id. These factual allegations must be accepted as true in adjudicating the

 6 Motion, and they preclude a finding, as a matter of law, that these are “industry terms” giving rise

 7 to the need for CBA interpretation. This is a further reason the Motion must be denied.

 8              B. The Order Dismissing the FAC Does Not Compel Dismissal of the SAC

 9          Defendant erroneously argues that the Court should dismiss the SAC because the “Court has

10 already held” some or all of Plaintiff’s wage-and-hour claims preempted. Motion, 5:26-27. This

11 argument is without merit because the April 4, 2022 Order dismissing the First Amended Class

12 Action Complaint (“FAC”) (Dkt. 46) analyzed a version of the complaint that did not include the

13 express factual allegations that now negate LMRA preemption.            Further, the Court granted

14 reconsideration of its April 4, 2022 Order, effectively rendering it moot once the SAC was filed.

15          Defendant in effect is asking the Court to reconsider its June 2, 2022 Order granting

16 reconsideration Dkt. 57. However, the Court already has decided the issue, has granted

17 reconsideration, and has allowed a further amended complaint to be filed. The Court should not

18 now go back, as Defendant requests, and determine that its earlier, reconsidered ruling as to LMRA
19 preemption—based on the factual allegations in the FAC—shall be enforced notwithstanding the

20 new factual allegations added to the SAC. Doing so would violate the “law of the case” doctrine,

21 under which “a court is generally precluded from reconsidering an issue that has already been

22 decided by the same court, or a higher court in the identical case.” U.S. v. Alexander, 106 F.3d 874,

23 876 (9th Cir. 1997) (quoting Thomas v. Bible, 983 F.2d 152, 154 (9th Cir. 1993) (cert. denied 508

24 U.S. 951 (1993)). Here, it is the “law of the case” that the Court has granted reconsideration of its

25 April 4, 2022 Order dismissing the FAC. As such, Plaintiff respectfully requests that the Court

26 analyze the SAC anew, and adjudicate the Motion based on the filings now properly before the

27 Court. Based on the factual allegations in the SAC, the Motion should be denied.

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                                                     11
                   OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
         Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 12 of 16




 1               C. Claim for Failure to Timely Pay Wages Upon Separation Is Not Preempted

 2          Contrary to Defendant’s assertion, Plaintiff’s claim for waiting-time penalties is not

 3 derivative of his wage claim, therefore it should not be dismissed even if the Court finds that

 4 Plaintiff’s wage claim is otherwise preempted (which it is not).

 5          Rather, California law makes clear that its provisions regarding timely payment of wages

 6 upon separation of employment is intended as a bare-minimum protection for workers’ welfare that

 7 cannot be bargained away. In material part, while allowing for “the payment of wages at more

 8 frequent intervals, or in greater amounts, or in full when due or before due,” the Code also provides

 9 that “no provision of this article can in any way be contravened or set aside by a private agreement,

10 whether written, oral, or implied.” Cal. Lab. Code § 219(a). There are a handful of carve-outs from

11 this general rule for CBA-covered employees in specified industries, including (as were at issue in

12 one case Defendant once again deceptively cites), for employees “engaged in the production or

13 broadcasting of motion pictures,” as well as those “employed at a venue that hosts live theatrical

14 or concert events.” Cal. Lab. Code §§ 201.5(a)(1), 201.9 (emphasis added); see Hall v. Live Nation

15 Worldwide, 146 F.Supp.3d 1187, 1200-01 (C.D. Cal. 2015) (“Thus, plaintiffs’ employment is

16 apparently governed both by § 201.5 and by § 201.9.”) Another, larger carve-out exists for the

17 employer’s duty to make twice-monthly payments of wages owed to employees, but the section

18 where this exemption appears expressly excludes wages due at separation under section 201 from
19 its scope.1

20          Defendant’s cited authority to the contrary does not avoid the conclusion that the provisions

21 of state law on which Plaintiff’s claim here relies are not waivable by CBA, and thus cannot be

22 preempted as Defendant asserts. Beyond the above, inapposite authority,2 Defendant cites a single,

23
     Defendant has previously submitted to this Court that “nowhere does section 204 state it only
     1
24
   applies to wages earned during employment and exempts wages earned at termination.” Dkt. 38,
25 2:28-3:1. This is not only a clear misreading of the statute, which excludes wages “mentioned in
   Section 201” in the very first sentence, Cal. Lab. Code § 204(a), it would also render the general
26 rule against private waiver of the right to receive wages under section 219(a) a nullity.
     2
27  It is undisputed that Plaintiff worked for Defendant in the construction industry, not in the motion
   picture industry or theater industry. As a result, Labor Code sections 201.5 and 201.9 facially do
28 not apply here.
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                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 13 of 16




 1 unpublished federal district court decision that appears to hold that section 204 permits a CBA-

 2 covered employee to waive all rights to timely payment of wages under state law. See Gillette v.

 3 Stater Bros. Markets, Inc., 2019 WL 8017735, at *6 (C.D. Cal. Sept. 23, 2019). Motion at 6:12-25.

 4 However, the California Supreme Court has conclusively and authoritatively rejected precisely this

 5 argument.      See Schachter, supra, 47 Cal. 4th at 619 (holding that any private agreement

 6 “prospectively waiving an employee’s rights under [Labor Code] sections 201 and 202 to receive

 7 all his earned but deferred or unpaid wages constitute waivers which section 219 renders illegal and

 8 unenforceable”).

 9          Given that no legal authority exists to support the proposition that a purported CBA can

10 preempt all claims for untimely payment of wages due at termination, the Court should reject

11 Defendant’s incorrect assertion that “Plaintiff’s apparent attempt to change the claim from a direct

12 claim to a derivative claim does nothing to save the claim from preemption.” Motion, 6:26-27. First

13 and foremost, the SAC adds to factual allegations that render Plaintiff’s waiting-time penalty claim

14 necessarily derivative of his wage claim; rather, the waiting-time penalty claim is instead based

15 primarily on Defendant’s direct violation of the statue: issuing Plaintiff’s “final paycheck

16 approximately seven (7) to eight (8) days after his last day worked ....” SAC, ¶ 13. Defendant’s

17 argument focusing on whether Plaintiff’s cause of action for waiting time penalties may proceed as

18 a derivative claim is thus unavailing.
19          Moreover, even to the extent that Plaintiff’s claim here is derivative of any other claim, it is

20 derivative in part on Plaintiff’s claim for unpaid minimum wages for off-the-clock labor performed,

21 which, as discussed at length above, is not preempted. Thus, the SAC sufficiently alleges Plaintiff’s

22 section 201 claim in a manner that may not be preempted under the first step of the Burnside

23 analysis, as its scope is limited such that it relies in no part on any alleged CBA to exist.

24          Nor is Plaintiff’s section 201 claim preempted at step two of the Burnside analysis. The

25 “line between reference to and interpretation of an agreement may be somewhat hazy,” but in any

26 case, factual ambiguities should be resolved against preemption, given that preemption “should not

27 be lightly inferred in this area, since the establishment of labor standards falls within the traditional

28 police power of the State.” Melendez, supra, 7 Cal.5th at 9 (quoting Lingle, supra, 486 U.S. at 412.)
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                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 14 of 16




 1 Moreover, to prove that the resolution of Plaintiff’s claim requires substantial interpretation of an

 2 alleged CBA, Defendant must do more than merely “provide a laundry list of provisions” in the

 3 purported CBA; rather, it “must explain why interpretation, as opposed to mere reference to the

 4 CBA, is necessary.” Wilson-Davis, supra, 434 F.Supp.3d at 813. The Motion does not even attempt

 5 to argue that resolution of Plaintiff’s section 201 claim will require interpretation of the purported

 6 CBA.

 7          As such, Plaintiff’s claim for waiting-time penalties is not preempted. This is because

 8 Plaintiff alleges in the SAC that Defendant violated section 201 by failing to provide him with his

 9 final wage payment until seven or eight days after termination, a claim which “seems to require

10 nothing more than a clock [and] a calendar,” plus date of termination, to resolve in full. Evers v.

11 Indep. Media, Inc., 2010 WL 11601039, at *6 (C.D. Cal. Oct. 22, 2010). Indeed, the question of

12 “whether a violation has occurred is controlled only by the provisions of the state statute and does

13 not turn on whether the payment was timely under the provisions of the [CBA].” Balcorta, supra,

14 208 F.3d at 1111. Nor will the Court need to turn to interpretation of any CBA terms to determine

15 when Plaintiff was “discharged” such that the statutory clock began ticking, as the meaning of that

16 term will necessarily be resolved in view of the statute’s language. See Melendez, supra, 7 Cal.5th

17 at 11. Thus, Plaintiff’s claim for unpaid wages due at termination is not preempted by any purported

18 CBA, and indeed could not be preempted as a fundamental right of California employees that is not
19 subject to waiver by private agreement of any kind. See Cal. Lab. Code § 219(a). This claim must

20 survive Defendant’s Motion.

21             D. Submission of Claims to a CBA Grievance Procedure Is Not Required

22          The Court should reject Defendant’s argument that Plaintiff’s SAC must be dismissed on

23 the ground that it “omit[s] any allegation he complied with [the purported CBA’s] grievance

24 procedure ….” Motion, 7:27-28. This is because none of Plaintiff’s claims asserted in the SAC

25 relies in any part on any purported CBA. SAC, ¶ 16. At the pleading stage, the Court must accept

26 this allegation as true. Rescuecom, 562 F3d at 127. As such, Plaintiff need not bring his claims

27 pursuant to any CBA grievance procedure.

28 / / /
                                                     14
                   OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
        Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 15 of 16




 1          Indeed, Congress’s intent in providing for preemption under the LMRA was specifically to

 2 create uniformity in the law and a favorable federal forum for the resolution of “disagreements over

 3 how to give effect to the bargained-for agreement” that a CBA represents. Hawaiian Airlines, Inc.

 4 v. Norris, 512 U.S. 246, 254 (1994). Given this central purpose of the law, preemption of state-law

 5 claims pursuant to a CBA-based grievance procedure requires at a minimum that “the ‘union-

 6 negotiated waiver of employees’ statutory right to a judicial forum’ must be ‘clear and

 7 unmistakable.’” Munoz v. Atlantic Express of L.A., Inc., 2012 WL 5349408, at *4 (C.D. Cal. Oct.

 8 30, 2012), quoting Wright v. Univ. Mar. Serv. Corp., 525 U.S. 70, 80-81 (1998), emphasis added.

 9 No such “clear and unmistakable” language can be inferred from the facts alleged in the SAC.

10 Further, where a “CBA does not directly reference the statutes” creating a plaintiff’s state-law causes

11 of action, it “does not ‘clearly and unmistakably’ waive Plaintiff's rights under those statutes,” and

12 thus plaintiff “was not required to file a grievance under the CBA to pursue his statutory claims.”

13 Martinez v. J. Fletcher Creamer & Son, Inc., 2010 WL 3359372, at *5 (C.D. Cal. Aug. 13, 2010).

14 Here, at the pleading stage, there is no grounds for dismissal based on a purported grievance

15 procedure that Defendant alleges but that appears nowhere in the allegations of the SAC.

16          Even assuming, arguendo, that the purported CBA may contain provisions regarding an

17 internal grievance procedure (which Plaintiff does not allege), this alone does not mean Plaintiff

18 was required to exhaust the hypothetical internal procedure prior to filing his state-law claims in a
19 civil lawsuit. A plaintiff’s “non-preempted claims are brought under state law and therefore do not

20 require a grievance process.” Fennix v. Tenderloin Hous. Clinic, Inc., 2020 WL 6462394, at *6

21 (N.D. Cal. Nov. 3, 2020). Given that Plaintiff’s claims facially and substantively arise under state

22 law rather than from the CBA, Defendant must point to some “clear and unmistakable” waiver of

23 the right to bring those claims in a judicial forum in order to prove preemption of those specific

24 claims. Wright, supra, 525 U.S. at 80-81. At a minimum, this requires Defendant to point to specific

25 language in the purported CBA naming the statutory rights asserted by Plaintiff here and showing

26 that the parties to the contract actually intended to reach a bargain as to an employee’s right to bring

27 those claims in court. At the pleading stage, Defendant has not and cannot do so, and thus no

28 grievance procedure exhaustion requirement controls here.
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                    OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
       Case 3:21-cv-07874-LB Document 61 Filed 07/25/22 Page 16 of 16




 1          Nor does Defendant’s argument that Plaintiff’s statutory claims are barred because they are

 2 purportedly “duplicative of the same claims Plaintiff is otherwise required to pursue in arbitration”

 3 compel any other conclusion. Motion 7:5-6. For one, Defendant’s contention that permitting

 4 litigation of these claims would effect an improper double recovery assumes that Plaintiff will first

 5 be compelled to pursue those claims under the purported CBA’s grievance and arbitration

 6 procedures, and second actually pursue them under that regime. However, where a state-law

 7 statutory claim is not covered by the express terms of a CBA, an employee is free to decide whether

 8 to bring his or her claims in a judicial forum. Zavala v. Scott Bros. Dairy, Inc., 143 Cal.App.4th

 9 585, 592 (2006). Thus, Defendant’s cited authority and argument regarding the possibility of a

10 double recovery are irrelevant and cannot support an order dismissing any of Plaintiff’s claims in

11 the SAC here.

12   IV.    CONCLUSION

13          For all of the foregoing reasons, Plaintiff respectfully requests that the Court deny Defendant’s

14 instant Motion in full.

15

16 Dated: July 25, 2022                        BIBIYAN LAW GROUP, P.C.
17
                                                    /s/ Jeffrey C. Bils
18                                                  JEFFREY C. BILS
                                                    DAVID D. BIBIYAN
19                                             Attorneys for Plaintiff ELMER N. RODRIGUEZ, on
                                               behalf of himself and all others similarly situated
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                   OPPOSITION TO MOTION TO DISMISS SECOND AMENDED COMPLAINT
